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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

 JEFFREY GOOD,

                               Plaintiff,

                        vs.                                    Case No. 21-02539-JAR-ADM

 UNITED STATES DEPARTMENT OF
 EDUCATION, ET AL.,

                               Defendants.

                REPLY IN SUPPORT OF DEFENDANT UNITED STATES
                   DEPARTMENT OF EDUCATION’S MOTION TO
               DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(1) & 12(b)(6)

       Defendant United States Department of Education (USDOE), by and through Duston J.

Slinkard, United States Attorney for the District of Kansas, and Steven W. Brookreson, II and

Christopher Allman, Assistant United States Attorneys, hereby submits this reply in further

support of USDOE’s Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(1) & 12(b)(6) (Doc. 18).

       USDOE’s dispositive motion seeks dismissal of claims against USDOE for the following

reasons: (1) Plaintiff’s claims against USDOE brought under §§ 1681n and 1681o of the FCRA

should be dismissed for lack of subject matter jurisdiction because Plaintiff’s claims against

USDOE are barred by sovereign immunity; (2) Plaintiff fails to plead a plausible claim against

the USDOE that his consumer credit file contains inaccurate or incomplete information; and (3)

Plaintiff does not state a claim for willful noncompliance with the FCRA. Assuming the case

against it is not dismissed, USDOE further seeks (4) that Plaintiff’s jury demand be stricken

because Congress has not granted a right to trial by jury against the United States under the FCRA.

       Although USDOE preemptively addressed much of the argument concerning sovereign

immunity in its memorandum in support of motion to dismiss (Doc. 19), this reply targets specific


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     arguments advanced in Plaintiff’s response. In addition, this reply addresses Plaintiff’s attempts

     to bolster the sufficiency of his FCRA claims in his petition. Although Plaintiff’s response also

     attempts to strengthen the adequacy of his willful noncompliance FCRA claims against the United

     States, USDEO stands on its prior briefing and does not further belabor that issue in this reply.

I.          PLAINITFF’S RESPONSE OFFERS NO SOUND REASON TO ABANDON
            CONTEXTUAL STATUTORY ANALYSIS OF THE RELEVANT FCRA
            PROVISIONS TO FIND A WAIVER OF SOVEREIGN IMMUNITY BY
            THE UNITED STATES

            Much of the parties’ briefing on USDOE’s motion to dismiss concerns USDOE’s first

     argument for dismissal—that nothing in the text or statutory history of Section 1681n, Section

     1681o, or the other FCRA provisions at issue here contains an unambiguous and unequivocally

     expressed waiver of sovereign immunity by the United States. In large part, the moving and

     responding parties’ briefing presents the Court with the competing arguments of a circuit split on

     this position. Plaintiff and USDOE agree that there is no controlling precedent as to this issue

     before this Court. Plaintiff asks the Court to decide this jurisdictional issue in the same manner

     as the courts of appeals in Mowrer v. U.S. Dept. of Transportation, 14 F.4th 723 (D.C. Cir. 2021)

     and Bormes v. United States, 759 F.3d 793 (7th Cir. 2014), as well as the few1 district courts




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                  In his Response, Plaintiff offers that “USDOE ask[s] this Court to deviate from [a]
     trend,” a “recent trend” or “shift[] to find that immunity has been waived.” Response, Doc. 25, 5.
     Based upon its thorough review of all federal cases addressing this issue, USDOE contests the
     existence of a “recent trend” favoring Plaintiff’s position. Aside from the Federal Courts of
     Appeals cases deciding the issue, Plaintiff cites seven cases in support of his contention that the
     United States has waived sovereign immunity under the FRCA, but only three of which are
     decisions delivered in the last two years, and the most recent of which is Murphy v. Equifax Info.
     Servs., LLC, 120CV09275RMBAMD, 2021 WL 5578701, at *5 (D. N.J. Nov. 30, 2021).
     Response, Doc. 25., 13, n.6. Aside from the Federal Courts of Appeals cases, USDOE cites
     twenty-five district court cases in support of its contention that the United States has not waived
     sovereign immunity to FCRA claims, seventeen of which are decisions delivered in the last two
     years. Mem. in Supp., Doc. 19, 32-34. Although Plaintiff suggests that “counting numbers does
     not tell the whole story,” the number of federal courts and weight of persuasive authority agreeing
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supporting a mechanical reading that the 1996 amendments to the FCRA imposing liability on

“persons” function to impose liability on the United States. USDOE requests that the Court find

alongside Robinson v. United States Dep't of Educ., 917 F.3d 799 (4th Cir. 2019), cert. denied sub

nom. Robinson v. Dep't of Educ., 140 S. Ct. 1440 (2020), Daniel v. Natl. Park Serv., 891 F.3d 762

(9th Cir. 2018), and the overwhelming majority of district courts that, after considering much of

the same legal arguments and finding the arguments against waiver more compelling, find the

FCRA does not unambiguously and unequivocally waive sovereign immunity.

           Plaintiff’s response offers no meaningful explanation why this Court should sidestep

proper contextual statutory analysis and embrace such an enormous expansion of governmental

liability given the incompatibility and absurd results in reading an inadvertent waiver into the

FCRA. “Statutory construction, however, is a holistic endeavor. A provision that may seem

ambiguous in isolation is often clarified by the remainder of the statutory scheme-because the same

terminology is used elsewhere in a context that makes its meaning clear … or because only one

of the permissible meanings produces a substantive effect that is compatible with the rest of the

law[.]” United Sav. Ass'n of Texas v. Timbers of Inwood Forest Assoc’s., Ltd., 484 U.S. 365, 371

(1988) (internal citations omitted).

       First, Plaintiff’s response substantially relies on the District of Columbia Circuit’s decision

in Mowrer, the most recent of the appellate court decisions amongst the circuit court split.2 The



that the United States did not unequivocally waive sovereign immunity for claims against it under
the FCRA should not be lightly dispensed. Doc. 25, 12.
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           At the appellate level, Mowrer levels the playing field among the circuits, except that
the Seventh Circuit has retreated from its decision in Bormes in Meyers v. Oneida Tribe of Indians
of Wisconsin, 836 F.3d 818 (2016). See Mem. in Supp., 35-36. The Mowrer decision gives no
consideration to the Seventh Circuit’s retreat in Meyers. Plaintiff posits that “the Meyers decision
reinforces the findings in Bormes” (Doc. 25, 12), but that interpretation is misplaced. Courts with
more persuasive and comprehensive analysis have placed far greater meaning on the Meyers
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Mowrer decision that the FCRA provisions “speak clearly enough” to waive sovereign immunity

neglects sound principals of statutory interpretation. See Mowrer, 14 F.4th at 729. Despite the

abundant evidence from the FCRA’s text and structure that the enforcement provisions do not

apply to the federal government, the Mowrer court, much like Bormes, interpreted the word

“‘person’ on a blank slate,” acknowledged the inconsistent use of the word “person” under the

FCRA, yet failed to construe such ambiguity in the statutory language in favor of immunity, and

ignored the “‘longstanding interpretive presumption that ‘person’ does not include the sovereign.’”

Robinson, 917 F.3d at 802 (citations omitted). Indeed, the Mowrer court strayed too far from the

well-established principle that “a waiver of the Government’s sovereign immunity will be strictly

construed, in terms of its scope, in favor of the sovereign.” Lane v. Pena, 518 U.S. 187, 192 (1996).

       Mowrer purports to grapple with familiar principals—“A waiver of sovereign immunity

must be unequivocally expressed in statutory text.” (Id. at 728) (citations omitted); "[A]mbiguous

statutes do not abrogate state sovereign immunity—just as they do not waive federal sovereign

immunity” (Id. at 729); and a waiver of sovereign immunity must “be clearly discernable from the

statutory text in light of traditional interpretive tools[]” (Id. at 728) (emphasis added) (citation

omitted)—yet Mowrer ultimately overstrains itself to circumvent these principals.

       Rather than relying on traditional interpretive tools, Mowrer makes little holistic analysis

of the statutory scheme at issue. Mowrer attempts to neutralize one internal inconsistency with

the mechanical reading, which is the existence of an express waiver of sovereign immunity in §

1681u(j) of the FCRA—the type of necessary, unequivocal waiver called “plain as day” by the




decision. See, e.g., Robinson, 917 F.3d at 806-07 (emphasizing the Meyers retreat); Daniel, 891
F.3d at 774 (“[T]he Seventh Circuit has since questioned its own reasoning in Bormes.”); Dumas
v. GC Services, L.P., 18-12992, 2019 WL 529260, at *4 (E.D. Mich. Feb. 11, 2019); Johnson v.
Trans Union, LLC, No. 16-1240, 2019 WL 3202212, at *3 (W.D. La. July 15, 2019).
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Fourth Circuit and “particularly instructive” by the Ninth Circuit. Robinson, 917 F.3d at 804;

Daniel, 891 F.3d at 772.3 Moreover, Mowrer avoids clear indications of contextual ambiguity

when it acknowledges the possibility that the mechanical reading may unconstitutionally impose

damages on state governments—although it finds comfort that no constitutional bar prevents such

a waiver against the federal government. Mowrer, 14 F.4th at 729. Here too, Mowrer goes too far

to work around numerous issues with a mechanical application of the FCRA.

       As to the numerous implausible consequences of subjecting federal, state, tribal, and

foreign governments to the punitive, criminal, and civil enforcement measures of the FRCA,

Mowrer attempts to dismiss the concerns of the Fourth and Ninth Circuits by means of example,

stating that “Congress may impose punitive damages on government entities, so long as it does so

expressly” and noting that the “federal government routinely investigates itself.” Id. at 730

(internal citation omitted). Mowrer is too quick to underplay and underestimate the enormous

consequences of making governments of all types liable to the FCRA’s enforcement provisions,

as described in Robinson and Daniel, and similarly stated in USDOE’s memorandum, at 25-28.




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         In Daniel, the Ninth Circuit acknowledges that § 1681u contains “limited focus on federal
agencies [that] might explain the difference in statutory language”—which is akin to the reasoning
Mowrer finds the inconsistency unpersuasive. Daniel, 891 F.3d at 772; Mowrer, 14 F.4th at 729.
Yet Daniel correctly finds that—

       . . . § 1681u clouds whether the remedial provisions at §§ 1681o and 1681n extend
       “unambiguously” to monetary claims against the United States. See Ordonez v.
       United States, 680 F.3d 1135, 1138 (9th Cir. 2012) (quoting Lane, 518 U.S. at 192,
       116 S. Ct. 2092). We view the comparison to § 1681u as particularly instructive
       because “it is useful to benchmark the statutory language against other explicit
       waivers of sovereign immunity” when determining whether an unequivocal waiver
       of sovereign immunity exists. Al-Haramain, 705 F.3d at 851.

Daniel, 891 F.3d at 772.
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       Furthermore, Mowrer finds that “contextual considerations would prevent application of

the ‘person’ definition as written[]” as it requires the “federal government imposing criminal

liability on itself, or subjecting itself to investigation by the states.” Id. Yet, Mowrer holds that

the same considerations do not amount to ambiguity as to the question of sovereign immunity

“where the only interpretive constraint is that Congress waive it unambiguously.” Id. It is telling

that Mowrer finds ambiguity and a plausible interpretation of the FCRA that cuts against the

mechanical reading as to the federal government’s imposition of criminal liability on itself or

subjection to investigation by the states, yet—like failing to see the forest through the trees—does

not count these absurd results among the numerous reasons counseling the existence of ambiguity.

It is not the rule that the courts should endeavor to work around such ambiguities in a statutory

scheme to find a result that the United States waives sovereign immunity, rather it is said that

“[a]ny ambiguities in the statutory language are to be construed in favor of immunity, so that the

Government's consent to be sued is never enlarged beyond what a fair reading of the text requires,

Ambiguity exists if there is a plausible interpretation of the statute that would not authorize money

damages against the Government.” F.A.A. v. Cooper, 566 U.S. 284, 290–91 (2012) (internal

citations omitted).

       A plausible interpretation exists that upholds federal sovereign immunity. While ordinarily

“identical words used in different parts of the same act are intended to have the same meaning …

the “presumption of consistent usage readily yields to context, and a statutory term—even one

defined in the statute—may take on distinct characters from association with distinct statutory

objects calling for different implementation strategies.” Util. Air Reg. Group v. E.P.A., 573 U.S.

302, 320 (2014) (citations and quotations omitted). This principal of statutory interpretation allows

for the statutory term “person” to be given its defined meaning (i.e., one including the federal



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government) with respect to § 1681n and § 1681o and its only fair reading (i.e., one that excludes

the federal government) in § 1681q. USDOE has posited that “person” may be interpreted to

include the federal government with respect to substantive provisions and to exclude the federal

government in the case of enforcement mechanisms. Mem. in Supp., Doc. 19, 30-31; see also

Robinson, 971 F.3d at 806 (advancing the same position). Sovereign immunity must be evaluated

on a provision-by-provision basis. E.g., United States v. Idaho ex rel. Dir., Idaho Dept. of Water

Resources, 508 U.S. 1, 8 (1993). At a minimum, reading the FCRA to exclude the United States

(and other governments) from the civil-liability provisions “is a plausible interpretation of the

statute” and therefore must be adopted in this context. Cooper, 566 U.S. at 290.

       Plaintiff’s reliance on the other cases he cites is even less helpful. Citing Stenberg v.

Carhart, 530 U.S. 914, 942 (2000), Plaintiff instructs that “[w]hen a statute includes an explicit

definition, [the Court] must follow that definition, even if it varies from that term's ordinary

meaning." Reply, Doc. 25, 6. Stenberg is not helpful to the present case and a question of

contextual ambiguity.    Strenberg involved the application of a statute’s explicit definition

compared with a state attorney general’s narrowing construction of the same. Id. at 941-42.

Contrary to Plaintiff’s suggestion, the Court is not bound such that it must mechanically apply a

statutory scheme when it finds the apparently straightforward language ambiguous when read in

context. See King v. Burwell, 576 U.S. 473, 475 (2015).

       Plaintiff’s reliance on Moore v. U.S. Dep't of Agric., ex rel. Farmer’s Home Admin., 55

F.3d 991 (5th Cir. 1995) is misplaced. In Moore , the Fifth Circuit, consistent with the position of

the federal government, held that the Equal Credit Opportunity Act waives the immunity of the

United States for monetary relief. The Equal Credit Opportunity Act defines “creditor” to include

any “person,” which is, in turn, defined to include any “government or governmental subdivision.”



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15 U.S.C. § 1681a(e), (f). The civil liability provisions of the Equal Credit Opportunity Act, unlike

those of the FCRA, explicitly refer to governmental entities and suggest that Congress crafted the

remedial scheme with such entities in mind. The Equal Credit Opportunity Act provides that

“[a]ny creditor, other than a government or governmental subdivision or agency,” can be liable for

punitive damages. 15 U.S.C. § 1691e(b). By contrast, the immediately preceding Equal Credit

Opportunity Act provision for compensatory damages—section 1691e(a)—applies to all

“creditors” and contains no such governmental exemption. Id. § 1691e(a). The FCRA contains

no such statutory language. Unlike the Equal Credit Opportunity Act, the analogous FCRA civil

damages provisions contain no exemption for, and make no mention of, governmental entities.

Thus, there is no comparable evidence that Congress crafted the FCRA’s private civil liability

provisions with a view to subject the federal government to open-ended damages liability. The

Equal Credit Opportunity Act’s focused antidiscrimination provisions, moreover, contrast

markedly with the sweeping U.S. government liability for everyday activities that would follow

from holding the FCRA waives sovereign immunity.

       Plaintiff similarly errs in seeking to rely on the Fifth Circuit’s discussion in Moore as to

the Truth in Lending Act’s express preservation of immunity. Response, Doc. 25, 7-8. Waivers

of sovereign immunity must be clear and express; they cannot be found implicitly by indirect

inference in the manner Plaintiff proposes. That Congress made doubly sure to preserve sovereign

immunity in the Truth in Lending Act by no means clearly demonstrates that it waived sovereign

immunity in the FCRA.




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II.           PLAINTIFF’S RESPONSE CANNOT AND DOES NOT SHORE UP HIS
              FAILURE TO PLEAD INACCURACIES OR FALSE IMFORMATION
              REGARDING HIS STUDENT LOANS

              Plaintiff’s response fruitlessly posits the adequacy of his pleadings under the Kansas Rules

      of Civil Procedure, calling to the Kansas pleading statute K.S.A. 60-209, and quoting Kansas case

      law that “[d]iscovery will fill in the gaps.” Response, Doc. 25, 14-15 (quoting Montoy v. State,

      275 Kan. 145, 148, 62 P.3d 228 (2003)). Nonetheless Plaintiff acknowledges that “[a]fter the

      removal of an action from state court ... it has been settled by numerous cases that the removed

      case will be governed by the Federal Rules of Civil Procedure and all other provisions of federal

      law relating to procedural matters.” Response, Doc. 25, 14 (quoting Wallace v. Microsoft Corp.,

      596 F.3d 703, 706 (10th Cir. 2010)); see also Varney v. R.J. Reynolds Tobacco Co., 118 F. Supp.

      2d 63, 67 (D. Mass. 2000) (“Even in cases removed from state court, the adequacy of pleadings is

      measured by the federal rules. … The present complaint fails to pass muster even under this

      indulgent standard. … unlike a well-pleaded complaint, it reveals very little about the plaintiff's

      individual case.”) Plaintiff’s citation to Kansas common law is as unhelpful to test the adequacy

      of Plaintiff’s pleadings under the Federal Rules of Civil Procedure as it would be unhelpful to

      Plaintiff’s claims arising under federal statute. Furthermore, discovery is not appropriate to resolve

      a motion to dismiss for failure to state a claim for relief:

              The court's function on a Rule 12(b)(6) motion is not to weigh potential evidence
              that the parties might present at trial, but to assess whether the plaintiff's ...
              complaint alone is legally sufficient to state a claim for which relief may be
              granted,” Peterson v. Grisham, 594 F.3d 723, 727 (10th Cir. 2010) (internal
              quotation marks omitted). One purpose of requiring that a complaint state a
              plausible claim for relief is “to avoid ginning up the costly machinery associated
              with our civil discovery regime on the basis of a largely groundless claim.” Kan.
              Penn Gaming, LLC v. Collins, 656 F.3d 1210, 1215 (10th Cir.2011) (internal
              quotation marks omitted).

      Sheldon v. Khanal, 502 Fed. Appx. 765, 773 (10th Cir. 2012).



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       Plaintiff’s response fails to explain why his action should not be dismissed for failure to

state a claim pursuant to Fed. R. Civ. P. 12(b)(6). Plaintiff’s response does not attempt to address

the majority of USDOE’s supportive citations which instruct that Plaintiff is required to plead a

factual inaccuracy underlying his FCRA claims against USDOE—such as George v. Chex Sys.,

Inc., No. 16-2450-JTM, 2017 WL 119590 (D. Kan. Jan. 12, 2017) (granting Rule 12(b)(6) motion

to dismiss for failure to allege actual falsity under FCRA claim); Abeyta v. Bank of Am., 2016 WL

1298109 (D. Nev. Mar. 31, 2016) (granting Rule 12(b)(6) motion to dismiss after allowing plaintiff

leave to amend FCRA claims to plead factual inaccuracy in reported delinquencies, plaintiff failed

again the second time); and Hunt v. JPMorgan Chase Bank, Nat’l Ass’n, 770 F. App’x 452, 458

(11th Cir. 2019) (affirming Rule 12(b)(6) grant of motion to dismiss for failure to state a claim.

“A plaintiff must show a factual inaccuracy rather than the existence of disputed legal questions

to bring suit against a furnisher under § 1681s-2(b).”).

       Rather, Plaintiff’s response attempts to summarize his pleadings so as to suggest that his

petition meets the pleading requirements:

       Plaintiff clearly alleges that he discovered errors on his credit report (State Ct. Pet.
       for Damages, Doc 5, at ¶ 22), that he properly raised a dispute regarding said errors
       to the appropriate parties (Id. at ¶ 23), that two of the three credit reporting agencies
       received his dispute and corrected their reporting, and that TransUnion and
       Defendants failed to correct their reporting of the erroneous information. (Id. at ¶¶
       27-29).

Response, Doc. 25, 15. Plaintiff’s summary of his conclusive allegations misses several points of

concern, including, most importantly, how are the supposed errors factually inaccurate, but also

how was it USDOE allegedly failed to conduct a reasonable investigation, failed to review all

relevant information, failed to report the results of its investigation to the credit bureaus, or failed

to correct any inaccuracies or incomplete information. This is not to suggest that Plaintiff must

satisfy a “heightened fact pleading of specifics, but only enough facts to state a claim to relief”

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regarding the existence of factual inaccuracies and why USDOE’s investigation was not

reasonable, which Plaintiff does not allege. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007).

          Accompanying USDOE’s argument that Plaintiff has failed to sufficiently plead actual

inaccuracy, USDOE’s motion to dismiss takes the next step and states that the reported information

in dispute is in fact accurate. USDOE attaches business records reflecting the same to its

memorandum in support, Doc. 19. “[D]istrict courts may consider evidence beyond the pleadings

where the document is central to the claims presented and its authenticity is not disputed by the

parties.” Frost v. ADT, LLC, 947 F.3d 1261, 1267, n.4 (10th Cir. 2020) (citing Alvarado v. KOB-

TV, LLC, 493 F.3d 1210, 1215 (10th Cir. 2007) (district court appropriately considered a contract

containing one-year limitation period even though the document was not attached to the

complaint.). Plaintiff’s response merely suggests that this type of argument is inappropriate in a

12(b)(6) motion, without cohesive argument explaining why that it is the case in this instance.

Rather than address the many cases supportive of USDOE’s position—USDEO cites numerous

cases where district courts have likewise rejected similar suits at the motion to dismiss stage (Mem.

in Supp, Doc. 19, 41-42, n. 24)—Plaintiff seeks to distinguish only Cowley v. Equifax Info.

Services, LLC, merely because Cowley was decided on a motion for summary judgment. Because

of this, Plaintiff posits, he too should be given an opportunity for discovery. Cowley, 2019 WL

4936036 (W.D. Tenn. Aug. 12, 2019). While it is true that Cowley was decided on a motion for

summary judgment, Cowley is informative because of its discussion of the plaintiff’s accurate

historical payment information. Mem. in Supp, Doc. 19, 43. Also stated above, discovery should

not be allowed for the purposes of fixing Plaintiff’s insufficient claims.




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                                              Conclusion

        While Plaintiff would ask the Court to ignore the history of the FCRA provisions at issue

and counsels against consideration of the overwhelming majority of district courts finding no

waiver of sovereign immunity, the ambiguity in the FCRA’s mechanical reading is readily

apparent. Nothing in the text of the FCRA provisions at issue contain an unambiguous and

unequivocal expressed waiver of sovereign immunity by the United States. The legislative history

counsels the same and as explained in length in USDOE’s memorandum, informs how such an

inadvertent reading has come to bear through later amendment to the FCRA. Furthermore,

Plaintiff fails to sufficiently allege any facts that would show that he states a plausible claim against

the USDOE that his consumer credit file contains inaccurate or incomplete information, nor can

he.

        For the reasons set forth in USDOE’s memorandum in support and as further suggested in

this reply, USDOE respectfully requests the Court grant the USDOE’s motion to dismiss Plaintiff’s

complaint under Fed. R. Civ. P. 12(b)(1) for lack of subject matter jurisdiction, or alternatively

under Fed. R. Civ. P. 12(b)(6) for failure to state a claim.

                                                        Respectfully submitted,

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                                                     Department of Education


                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 26, 2021, the foregoing was electronically filed with the
clerk of the court by using the CM/ECF system, which will send a notice of electronic filing to
all counsel of record.

                                                     s/ Steven W. Brookreson, II
                                                     STEVEN W. BROOKRESON, II
                                                     Assistant United States Attorney




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